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                      IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF WEST VIRGINIA
                                  MARTINSBURG



  MATTHEW DWAYNE SMITH,

                Petitioner,

  v.                                               CIVIL ACTION NO. 3:08-CV-124
                                                   CRIMINAL ACTION NO. 3:05-CR-7-1
                                                   (BAILEY)

  UNITED STATES OF AMERICA,

                Respondent.


         ORDER ADOPTING CORRECTED REPORT AND RECOMMENDATION

         On this day, the above-styled matter came before the Court for consideration of the

  Corrected Report and Recommendation of United States Magistrate Judge James E.

  Seibert. By Standing Order, this action was referred to Magistrate Judge Seibert for

  submission of a proposed report and a recommendation (“R & R”). Magistrate Judge

  Seibert filed his Corrected R & R on February 26, 2009 [Civ. Doc. 6 / Crim. Doc. 454]. In

  that filing, the magistrate judge recommended that this Court deny the § 2255 petition.

         Pursuant to 28 U.S.C. § 636 (b) (1) (c), this Court is required to make a de novo

  review of those portions of the magistrate judge’s findings to which objection is made.

  However, the Court is not required to review, under a de novo or any other standard, the

  factual or legal conclusions of the magistrate judge as to those portions of the findings or

  recommendation to which no objections are addressed. Thomas v. Arn, 474 U.S. 140,

  150 (1985). In addition, failure to file timely objections constitutes a waiver of de novo

  review and the right to appeal this Court's Order. 28 U.S.C. § 636(b)(1); Snyder v.
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  Ridenour, 889 F.2d 1363, 1366 (4th Cir. 1989); United States v. Schronce, 727 F.2d 91,

  94 (4th Cir. 1984). Here, objections to Magistrate Judge Seibert’s R & R were due within

  ten (10) days of its receipt, pursuant to 28 U.S.C. § 636(b)(1) and Fed.R.Civ.P. 72(b). The

  docket reflects that service was accepted on March 2, 2009. See Crim. Doc. 455. To date,

  neither party has filed objection.    Accordingly, this Court will review the report and

  recommendations for clear error.

         Upon careful review of the report and recommendation, it is the opinion of this Court

  that the Magistrate Judge’s Corrected Report and Recommendation [Civ. Doc. 6 /

  Crim. Doc. 454] should be, and the same is, hereby ORDERED ADOPTED for the reasons

  more fully stated in the magistrate judge’s report. Therefore, this Court hereby DENIES the

  petitioner’s § 2255 motion [Civ. Doc. 1 / Crim. Doc. 405] and ORDERS it STRICKEN from

  the active docket of this Court. As a final matter, the previous R&R [Civ. Doc. 5 / Crim.

  Doc. 440] is hereby TERMINATED as moot.

         It is so ORDERED.

         The Clerk is directed to transmit copies of this Order to any counsel of record and

  to mail a copy to the pro se petitioner.

         DATED: May 7, 2009.
